          Case 3:16-cv-30179-KAR Document 60 Filed 06/24/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



JEAN WILLIAMS, On Behalf Of                )
Herself and all similarly situated         )
Individuals                                )
                                           )
                      Plaintiff,           )       Civil Action No. 16-30179-KAR
                                           )
                v.                         )
                                           )
                                           )
CITY OF SPRINGFIELD,                       )
Department of Public Works                 )
                    Defendants.            )



                           SETTLEMENT ORDER OF DISMISSAL
                                    June 24, 2019

       The court, having been advised on June 24, 2019, that the above-entitled action has

been settled;

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right of any party, upon good cause shown, to reopen the action within Sixty (60) days

if settlement is not consummated.



                                                   By the Court,



                                                    /s/ Mary Finn
                                                   Mary Finn
                                                   Deputy Clerk
